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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 ANDREW CORZO, SIA HENRY, ALEXANDER
 LEO-GUERRA, MICHAEL MAERLENDER,
 BRANDON PIYEVSKY, BENJAMIN SHUMATE,
 BRITTANY TATIANA WEAVER, and
 CAMERON WILLIAMS, individually and on
 behalf of all others similarly situated,

                               Plaintiffs,

                          v.

 BROWN UNIVERSITY, CALIFORNIA                           Case No.: 1:22-cv-00125
 INSTITUTE OF TECHNOLOGY, UNIVERSITY
                                                        Hon. Matthew F. Kennelly
 OF CHICAGO, THE TRUSTEES OF COLUMBIA
 UNIVERSITY IN THE CITY OF NEW YORK,
 CORNELL UNIVERSITY, TRUSTEES OF
 DARTMOUTH COLLEGE, DUKE UNIVERSITY,
 EMORY UNIVERSITY, GEORGETOWN
 UNIVERSITY, THE JOHNS HOPKINS
 UNIVERSITY, MASSACHUSETTS INSTITUTE
 OF TECHNOLOGY, NORTHWESTERN
 UNIVERSITY, UNIVERSITY OF NOTRE DAME
 DU LAC, THE TRUSTEES OF THE
 UNIVERSITY OF PENNSYLVANIA, WILLIAM
 MARSH RICE UNIVERSITY, VANDERBILT
 UNIVERSITY, and YALE UNIVERSITY,

                               Defendants.


      PLAINTIFFS’ STATEMENT OF COMPLIANCE WITH LOCAL RULE 37.2
       This Local Rule 37.2 Statement accompanies Plaintiffs’ Motion to Limit Redactions of

Donor Names As to Northwestern and Yale. Plaintiffs have conferred in good faith with

Northwestern and Yale in an effort to resolve issues raised by this Motion.




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      I.       Discussions with Defendant Northwestern University

            On April 24, 2023, Plaintiffs contacted Northwestern’s counsel and sent a detailed letter

regarding Northwestern’s redaction of donor names from Donation Records that it has

produced. 1 This letter outlined the prejudice Plaintiffs will face if they are unable to access donor

names from Donation Records. This letter also included a table of the Bates numbers of 170

documents with donor names and/or other relevant information redacted.

            On April 26, 2023, Northwestern responded to the letter on the issue of the redaction of

donor names stating that it properly “redacted information pertaining to donors or donations only

where such information would facilitate identification of a particular student – information

protected by FERPA.” Although Northwestern agreed to disclose certain information

inadvertently redacted in two of the documents Plaintiffs identified, it would not agree to

produce the donor names for any documents Plaintiffs identified.

            On April 27, 2023, Plaintiffs and Northwestern continued to exchange emails about their

respective positions. The Parties met and conferred on May 1, 2023 and agreed that the they

were at impasse.

      II.      Discussions with Defendants Yale University

            On April 24, 2023 Plaintiffs contacted Yale’s counsel and sent a detailed letter regarding

Yale’s redactions of donor names from Donation Records it has produced. 2 This letter outlined

the prejudice Plaintiffs will face if they are unable to access donor names from Donation

Records. This letter also included a table of the Bates numbers of 30 documents with donor

names and/or other relevant information redacted.


1
    All correspondences with Northwestern on this matter have been attached as Exhibit A.
2
    All correspondences with Yale on this matter have been attached as Exhibit B.

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          On May 1, 2023, Yale’s counsel responded that they redacted donor names at times

where required by FERPA in circumstances where donor names could identify applicants, but

otherwise did not redact donor names where there was no clear linkage between the donor and an

applicant.

          Plaintiffs met and conferred with Yale’s counsel on May 2, 2023, and Yale maintained

that under FERPA and the Confidentiality Order, it could not disclose donor names where such

names might reveal the identity of a donor-linked applicant. A Court order would be required to

produce a different result, and thus the Parties had reached impasse.

   III.      Conclusion

          Plaintiffs respectfully submit that they have complied with Local Rule 37.2 as to the

issues that are addressed in the accompanying Motion.


 Dated: May 8, 2023                                         Respectfully Submitted,


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